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Loan Number MN ce
NOTE

March 2, 2007 FRISCO, TEXAS

$613 BAY MEADOWS DRIVE
FRISCO, TEXAS 75034-4611
(Property Address)

1, BORROWER’S PROMISE TO PAY
Tm return for a loan that I have received, I promise to pay U.S. $202,500.00 {this amount is called “Principal”}, plus
interest, to the order of the Lender. The Lender is
THE LENDING PARTNERS, LTD. .
1 will make all payments under this Note in the form of cash, check or money order.
understand thal the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who
is entitled to receive payments under this Note is called the “Note Holder.”

z. INFEREST

Imerest will be charged on unpaid principal until the full amount of Principal has been paid, | will pay interest at a
yearly rate of 6.250%.

The intercst rate required by this Section 2 is the rate | will pay both before and after any default described in Section
6(B) of this Note.

3. PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

1 will make my monthly payment on the Ist day of each month beginning on May 1, 2607, 1 will make these
payments every month until | have paid all of the principal and interest and any other charges described below that I may
owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest
before Principal. H, on April 1, 2037, I still owe amounts under this Note, I will pay those amounts in full on that date,
which is called the “Maturity Date.” ,

1 will make my monthly payments at

THE LENDING PARTNERS, LTD.
5085 W. PARK BLYD., SUITE 200
PLANO, TEXAS 75093
or at a different place if required by the Note Holder.
(B) Amount of Monthly Payments
My monthly payment will be in the amount of U.S. $1,246.83.

4. BORROWER'S RIGHT TO PREPAY

have the right te make payments of Principal at any time before they are due. A payment of Principal only is known
as a “Prepayment,” When I make a Prepayment, [ will tell the Note Holder in writing that [ arm doing so. I may not
designate a payment as a Prepayment if | have not made all the monthly payments due under the Note,

Imay make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will use
my Prepayments to reduce the amount of Principal that ] owe under this Note. However, the Note Holder may apply my
Prepayment to the accrued and unpaid interest on the Prepayment amount, before app!ying my Prepayment to reduce the
Principal amount ofthe Note. If] make a partial Prepayment, there will be no changes in the due date or in the amount of
my monthly payment unless the Note Holder agrees in writing to those changes.

$. LOAN CHARGES

ifa law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such
loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums
already collected from me which exceeded permitted limits will be refunded to me. The Note Halder may choose to make

 

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this refund by reducing the Principal | owe under this Note or by making a direct payment to me, Ifa refund reduces
Principal, the reduction will be treated as a partial Prepayment.

6. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments

Ifthe Note Holder has not received the full amount of any monthly payment by the end of FIFTEEN calendar days
after the date it is duc, | will pay a late charge to the Note Holder. The amount of the charge will be 5.600% of my
overdue payment of principal and interest. I will pay this late charge promptly but only once on each late payment.

(B) Default

If] do not pay the full amount of each monthly payment on the date it is due, 1 will be in default.

(C) Natice of Default

If am in default, the Note Holder may send me a written notice telling me that if do not pay the overdue amount
by a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been
paid and all the interest that | owe on that amount. That date must be at least 30 days after the date on which the notice is
mailed to me or delivered by other means.

(D) No Waiver By Note Holder

Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if | am in default at a later time.

(E)} Payment of Note Holder’s Costs and Expenses

Hf the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right
to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable
law. Those expenses include, for example, reasonable attorneys’ fees,

7, GIVING OF NOTICES

Unless applicable taw requires a different method, any notice that must be given to me under this Note will be given
by delivering it or by mailing it by first class mail ta me at the Property Address above or at a different address if 1 give
the Note Holder a notice of my different address,

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by
first class mail to the Note Holder at the address stated in Section 3(A} above or at a different address if] am given a
notice of that different address,

8. OBLIGATIONS GF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser
of this Note is also obligated to do these things. Any person who takes over these obligations, including the obligations of
a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note
Holder may enforce its rights under this Note against each person individually or against all of us together. This means
that any one of us may be required to pay all of the amounts owed wader this Nate.

9, WAIVERS

Land any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice of Dishonor”
means the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

10. UNIFORM SECURED NOTE
This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given
to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the “Security Instrument”}, dated the
same date as this Note, protects the Note Holder from possible losses which might result if 1 do not keep the promises
which ] make in this Note. That Security Instrument describes how and under what conditions I may be required to make
immediate payment in full of all amounts | owe under this Note. Some of those conditions are described as follows:
Ifall or any part of the Property or any Interest in the Preperty is sold or transferred {or if Borrower is nota
natural person and a beneficial interest in Borrower is sold or transferred) without Leader’s prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
if Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide
a peried of not less than 30 days from the date the notice is given in accordance with Section 15 within which

 

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Borrower musi pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the
expiration of this period, Lender may invoke any rernedies permitted by this Security Instrument without further
notice or demand on Borrower.

THIS WRITTEN LCAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES
AND MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR
SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE ARE NO UNWRITTEN ORAL
AGREEMENTS BETWEEN THE PARTIES.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

Tfissets ).Geahanee be YVouuei d GOL ME Le D). pahauee «san

JAMES D. a by BY san" YAMILETH D. GRISHAM -Borrower
YAMILETH BD. GRISHAM AS
ATTORNEY IN FACT i

 

    
 

 

 

   

 

 

 

 

 

 

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By:
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WITHOUT RECOURSE
PAYTOTHE ORDER OF PAY TO THE ORDER OF
Wells Fargo Bank, N.A.
Walls Fargo Bank, N.A,
WITHOUT RECOURSE
BY: AMERICAN HOME MORTGAGE CORP
By
veh 7 Deanna Martin
- \ ionhaaey Vice President
ASST. SECRETARY
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